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                                           April 3, 2025

TO BE FILED UNDER SEAL
Hon. Joan M. Azrack
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York

                               Re: United States v. Arevalo-Chavez
                                        22 cr 429 (JMA)

Dear Judge Azrack:

       Counsel is in receipt of the Scheduling Order dated April 3, 2025 filed in the above-
referenced case directing Vladimir Antonio Arevalo-Chavez (Register No. 08165-506) to file a
response to the government’s motion to dismiss by April 9, 2025.

        Counsel respectfully requests that the Court Order the U.S. Marshals Service and the
Bureau of Prisons not move Mr. Arevalo-Chavez from the MDC while undersigned counsel
prepares his response to the government’s motion to dismiss and the court has sufficient time to
decide the motion once it is fully briefed. Mr. Arevalo-Chavez is at the MDC subject to a
permanent detention order. Keeping Mr. Arevalo-Chavez at the MDC will ensure that counsel
has access to my client.

        For the same reasons that the Government has requested that the correspondence related
to recent applications in this case be filed under seal, counsel requests that this document also be
filed under seal until further order by the Court.


                                                                     Respectfully submitted,

                                                                     s/ Louis M. Freeman
                                                                     Louis M. Freeman
                                                                     Attorney for Defendant
